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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
United States of America                                                          Plaintiff

v.                                  Case No.: 4:21−cr−00215−BRW

Christopher David Higgins                                                       Defendant




                                NOTICE OF HEARING


     PLEASE take notice that a Sentencing has been set in this case for July 6, 2022, at
02:00 PM before Judge Billy Roy Wilson in Little Rock Courtroom # 4B in the Richard
Sheppard Arnold United States Courthouse located at 600 West Capitol Avenue, Little
Rock, Arkansas.



DATE: March 16, 2022                             AT THE DIRECTION OF THE COURT
                                                        TAMMY H. DOWNS, CLERK


                                                      By: Melanie M. Beard, Deputy Clerk




Electronic copy provided to:

U.S. Marshals Service, Eastern District of Arkansas
U.S. Probation Office, Eastern District of Arkansas
Court Security Office, Eastern District of Arkansas
